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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA

Erin Wilson, individually and on behalf
                                      )             Civil Action No.:
of others similarly situated,        )
                                     )              Class Action Complaint
            Plaintiff,               )
                                     )              Jury Trial Demanded
v.                                   )
                                     )
Grocery Delivery E-Services USA Inc. )
d/b/a EveryPlate                     )
                                     )
                                     )
            Defendant.               )
____________________________________)


                          NATURE OF THIS ACTION

      1.     Erin Wilson (“Plaintiff”) brings this class action against Grocery

Delivery E-Services USA Inc. d/b/a EveryPlate (“Defendant”) under the Telephone

Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).

      2.     Upon information and good faith belief, Defendant routinely violates

47 C.F.R. § 64.1200(c) and, in turn, 47 U.S.C. § 227(c)(5), by delivering, or causing

to be delivered, more than one advertisement to residential numbers registered with

the National Do-Not-Call Registry (“DNC Registry”) without prior express

invitation or permission required by the TCPA.

                         JURISDICTION AND VENUE

      3.     This Court has subject matter jurisdiction under 47 U.S.C. § 227(c)(5)


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and 28 U.S.C. § 1331.

      4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b) as a

substantial portion of the events giving rise to this action occurred in this district.

      5.     In particular, Defendant delivered, or caused to be delivered, the subject

messages to Plaintiff’s cellular telephone in this district, and Plaintiff received the

subject messages in this district.

                                       PARTIES

      6.     Plaintiff is a natural person who at all relevant times resided in this

District in Georgia.

      7.     Defendant is a corporation.



                            FACTUAL ALLEGATIONS

      8.     Plaintiff is the regular and sole user of telephone number—(404) XXX-

XXXX.

      9.     Plaintiff uses the telephone number (404) XXX-XXXX as a personal

residential telephone number.

      10.    The Plaintiff does not have a landline.

      11.    The Plaintiff has no other telephone numbers used for personal

purposes.




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      12.    The Plaintiff has a personal telephone plan through T-Mobile, which is

paid for by the Plaintiff.

      13.    Plaintiff does not use telephone number (404) XXX-XXXX for

business or commercial purposes.

      14.    Plaintiff registered telephone number (404) XXX-XXXX with the

DNC Registry on June 19, 2024.

      15.    Defendant delivered, or caused to be delivered multiple text messages

to the Plaintiff in 2025.

      16.    The text messages are below:




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      17.    Defendant delivered, or caused to be delivered, the subject text

messages to (404) XXX-XXXX thirty-one or more days after Plaintiff registered

telephone number (404) XXX-XXXX with the DNC Registry.

      18.    The subject text messages were intended for someone other than, and

unknown to, Plaintiff.

      19.    The purpose of the subject text messages was to advertise and market

various goods, promotions and services through Defendant’s business.

      20.    Plaintiff did not give Defendant prior express consent or permission to

deliver, or cause to be delivered, advertisement or marketing text messages to

telephone number (404) XXX-XXXX

      21.    Plaintiff did not request information or promotional materials from

Defendant.

      22.    Plaintiff suffered actual harm as a result of the subject text messages in

that he suffered an invasion of privacy, an intrusion into his life, and a private

nuisance.

                         CLASS ACTION ALLEGATIONS

      23.    Plaintiff brings this action under Federal Rule of Civil Procedure 23,

and as a representative of the following class:




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       National Do Not Call Registry Class: All persons throughout the
       United States (1) who did not provide their telephone number to
       Grocery Delivery E-Services USA Inc. d/b/a EveryPlate., (2) to whom
       Grocery Delivery E-Services USA Inc. d/b/a EveryPlate delivered, or
       caused to be delivered, more than one voice message or text message
       within a 12-month period, promoting Grocery Delivery E-Services
       USA Inc. d/b/a EveryPlate goods or services, (3) where the person’s
       residential or cellular telephone number had been registered with the
       National Do Not Call Registry for at least thirty-one days before
       Grocery Delivery E-Services USA Inc. d/b/a EveryPlate delivered, or
       caused to be delivered, at least two of the voice messages or text
       messages within the 12-month period, (4) within four years preceding
       the date of this complaint and through the date of class certification.

       24.   Excluded from the class is Defendant, its officers and directors,

members of their immediate families and their legal representatives, heirs,

successors, or assigns, and any entity in which Defendant has or had a controlling

interest.

       25.   Upon information and belief, the members of the class are so numerous

that joinder of all of them is impracticable.

       26.   The exact number of members of the class is unknown to Plaintiff at

this time, and can be determined only through appropriate discovery.

       27.   The class is ascertainable because it is defined by reference to objective

criteria.

       28.   In addition, the members of the class are identifiable in that, upon

information and good faith belief, their telephone numbers, names, and addresses

can be identified in business records maintained by Defendant, and by third parties.


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       29.      Plaintiff’s claims are typical of the claims of the members of the class.

       30.      As it did for all members of the class, Defendant delivered, or caused

to be delivered, solicitation text messages to Plaintiff’s telephone number more than

thirty-one days after Plaintiff’s telephone number was registered with the DNC

Registry.

       31.      Plaintiff’s claims, and the claims of the members of the class, originate

from the same conduct, practice, and procedure on the part of Defendant.

       32.      Plaintiff’s claims are based on the same theories as are the claims of the

members of the class.

       33.      Plaintiff suffered the same injuries as the members of the class.

       34.      Plaintiff will fairly and adequately protect the interests of the members

of the class.

       35.      Plaintiff’s interests in this matter are not directly or irrevocably

antagonistic to the interests of the members of the class.

       36.      Plaintiff will vigorously pursue the claims of the members of the class.

       37.      Plaintiff has retained counsel experienced and competent in class action

litigation.

       38.      Plaintiff’s counsel will vigorously pursue this matter.

       39.      Plaintiff’s counsel will assert, protect, and otherwise represent the

members of the class.


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      40.      The questions of law and fact common to the members of the class

predominate over questions that may affect individual members of the class.

      41.      Issues of law and fact common to all members of the class are:

            a. Defendant’s conduct, pattern, and practice as it pertains to delivering,

               or causing to be delivered, advertisement and telemarketing text

               messages;

            b. Defendant’s practice of delivering, or causing to be delivered, text

               messages, for solicitation purposes, to telephone numbers already

               registered on the DNC Registry for more than thirty-one days;

            c. Defendant’s violations of the TCPA; and

            d. The availability of statutory penalties.

      42.      A class action is superior to all other available methods for the fair and

efficient adjudication of this matter.

      43.      If brought and prosecuted individually, the claims of the members of

the class would require proof of the same material and substantive facts.

      44.      The pursuit of separate actions by individual members of the class

would, as a practical matter, be dispositive of the interests of other members of the

class, and could substantially impair or impede their ability to protect their interests.




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      45.    The pursuit of separate actions by individual members of the class could

create a risk of inconsistent or varying adjudications, which might establish

incompatible standards of conduct for Defendant.

      46.    These varying adjudications and incompatible standards of conduct, in

connection with presentation of the same essential facts, proof, and legal theories,

could also create and allow the existence of inconsistent and incompatible rights

within the class.

      47.    The damages suffered by the individual members of the class may be

relatively small, thus, the expense and burden to litigate each of their claims

individually make it difficult for the members of the class to redress the wrongs done

to them.

      48.    The pursuit of Plaintiff’s claims, and the claims of the members of the

class, in one forum will achieve efficiency and promote judicial economy.

      49.    There will be no extraordinary difficulty in the management of this

action as a class action.

      50.    Defendant acted or refused to act on grounds generally applicable to the

members of the class, making final declaratory or injunctive relief appropriate.



                                COUNT I
                      VIOLATION OF 47 U.S.C. § 227(c)(5)



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      51.    Plaintiff repeats and re-alleges each and every factual allegation

contained in paragraphs 1-51.

      52.    In 2003, the Federal Communications Commission (“FCC”) ruled that

cellular telephone numbers that are placed on the DNC registry are presumed to be

residential. In Re Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 18 F.C.C. Rcd. 14014, 14039 (2003).

      53.    A text message is a “call” as defined by the TCPA. See Duran v. La

Boom Disco, Inc., 955 F.3d 279, 280 n.4 (2d Cir. 2020) (“It is undisputed that ‘[a]

text message to a cellular telephone . . . qualifies as a ‘call’ within the compass of

[the TCPA].’”) (internal citation omitted); Satterfield v. Simon & Schuster, Inc., 569

F.3d 946, 954 (9th Cir. 2009) (explaining that a text message is a “call” as defined

by the TCPA).

      54.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),

provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

residential telephone subscriber who has registered his or her telephone number on

the national do-not-call registry of persons who do not wish to receive telephone

solicitations that is maintained by the federal government.”

      55.    Section 64.1200(e) provides that §§ 64.1200(c) and (d) “are applicable

to any person or entity making telephone solicitations or telemarketing calls to

wireless telephone numbers.”


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      56.      Any “person who has received more than one telephone call within any

12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” may bring a private action based on a

violation of those regulations, which were promulgated to protect telephone

subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object. 47 U.S.C. § 227(c).

      57.      Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

be initiated, telephone solicitations to persons such as Plaintiff and the class

members who registered their respective cellular or residential telephone numbers

with the DNC Registry, which is a listing of persons who do not wish to receive

telephone solicitations that is maintained by the federal government.

      58.      Defendant violated 47 U.S.C. § 227(c)(5) because it delivered, or

caused to be delivered, to Plaintiff and members of the class, more than one

solicitation text message in a 12-month period in violation of 47 C.F.R. § 64.1200.

      59.      As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5) and 47

C.F.R. § 64.1200, Plaintiff, and the members of the class, are entitled to damages in

an amount to be proven at trial.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Determining that this action is a proper class action;

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   b) Designating Plaintiff as a class representative of the class under Federal

      Rule of Civil Procedure 23;

   c) Designating Plaintiff’s counsel as class counsel under Federal Rule of

      Civil Procedure 23;

   d) Adjudging and declaring that Defendant violated 47 U.S.C. § 227(c)(5);

   e) Enjoining Defendant from continuing its violative behavior, including

      continuing to deliver, or causing to be delivered, solicitation text

      messages to telephone numbers registered with the DNC Registry for

      at least thirty days;

   f) Awarding Plaintiff and the members of the class damages under 47

      U.S.C. § 227(c)(5)(B);

   g) Awarding Plaintiff and the members of the class treble damages under

      47 U.S.C. § 227(c)(5)(C);

   h) Awarding Plaintiff and the class reasonable attorneys’ fees, costs, and

      expenses under Rule 23 of the Federal Rules of Civil Procedure;

   i) Awarding Plaintiff and the members of the class any pre-judgment and

      post-judgment interest as may be allowed under the law; and

   j) Awarding such other and further relief as the Court may deem just and

      proper.




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                         DEMAND FOR A JURY TRIAL

      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

by jury of any and all triable issues.

      Date: June 4, 2025                 /s/ Valerie Chinn
                                         Valerie Chinn, Georgia Bar No. 248468
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                                         * Pro hac vice application to be filed




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